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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:                                   :
                                         : Case No.: 18-14097-elf
Lisa Young A Kim                         : Chapter 7
aka Young Ae Kim, aka Lisa Young Kim : Judge Eric L. Frank
                                         : *******************
                               Debtor(s)
                                         :
HSBC Bank USA, National Association      : Date and Time of Hearing
as Trustee for Ellington Loan            : Place of Hearing
Acquisition Trust 2007-1, Mortgage       : August 1, 2018 at 10:00 a.m.
Pass-Through Certificates, Series 2007-1 :
                                Movant, : U.S. Bankruptcy Court
       vs                                : 900 Market Street, Courtroom #1
                                         : Philadelphia, PA, 19107
Lisa Young A Kim                         :
aka Young Ae Kim, aka Lisa Young Kim


Lynn E. Feldman
                              Respondents.

 MOTION FOR RELIEF FROM THE AUTOMATIC STAY TO PERMIT HSBC BANK
    USA, NATIONAL ASSOCIATION AS TRUSTEE FOR ELLINGTON LOAN
  ACQUISITION TRUST 2007-1, MORTGAGE PASS-THROUGH CERTIFICATES,
 SERIES 2007-1 TO FORECLOSE ON 7427 BELDEN STREET, PHILADELPHIA, PA
                 19111 AND ABANDONMENT OF PROPERTY

        HSBC Bank USA, National Association as Trustee for Ellington Loan Acquisition Trust

2007-1, Mortgage Pass-Through Certificates, Series 2007-1 (the "Creditor") moves this Court,

under Bankruptcy Code §§ 361, 362, 363, and other sections of Title 11 of the United States

Code, and under Federal Rules of Bankruptcy Procedure 4001 and 6007 for an order

conditioning, modifying, or dissolving the automatic stay imposed by Bankruptcy Code § 362,

and for abandonment of the Property under Bankruptcy Code § 554, and avers as follows:

        1.     This is an action arising pursuant to a case under Title 11 of the United States

Code.



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        2.      Creditor is a lending institution duly authorized to conduct business in the

Commonwealth of Pennsylvania.

        3.      Creditor is a party-in-interest in the above referenced Bankruptcy matter as it is a

secured creditor of the Debtor.

        4.      Lisa Young A Kim aka Young Ae Kim, aka Lisa Young Kim (''Debtor'') filed a

voluntary petition for relief under Chapter 7 of the Bankruptcy Code on June 20, 2018,

("Petition").

        5.      Debtor is currently obligated to HSBC Bank USA, National Association as

Trustee for Ellington Loan Acquisition Trust 2007-1, Mortgage Pass-Through Certificates,

Series 2007-1, under the terms of a certain Note, dated December 13, 2006, in the original

principal amount of $180,900.00 executed by Debtor (hereinafter "Note").

        6.      As security for repayment of the Note, Debtor(s) executed a certain Mortgage,

dated of even date and of even amount, currently in favor of HSBC Bank USA, National

Association as Trustee for Ellington Loan Acquisition Trust 2007-1, Mortgage Pass-Through

Certificates, Series 2007-1, with respect to certain real property owned by the Debtor located at

7427 Belden Street, Philadelphia, PA 19111 (hereinafter "Mortgaged Premises").

        7.      Debtor executed a promissory note (the "Debt Agreement") secured by a

mortgage or deed of trust. The Debt Agreement is made payable to Creditor. Creditor has

possession of the Debt Agreement. Creditor is the original mortgagee/successor or beneficiary

of the mortgage or deed of trust.

        8.      The loan was modified as set forth in the Home Affordable Modification

Agreement attached and an Exhibit.




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       9.     The Debtor is in default under the terms of the Note and Mortgage as a result of,

among other things, their failure to make the regular monthly Mortgage payments for a period of

25 months, as of June 22, 2018.

       10.    As of June 22, 2018 the payoff and the amount past due to HSBC Bank USA,

National Association as Trustee for Ellington Loan Acquisition Trust 2007-1, Mortgage Pass-

Through Certificates, Series 2007-1 from the Debtor are $152,954.11 and $24,021.06,

respectively. The payoff is comprised of the following:

Unpaid Principal Balance                                                   $132,016.60
Interest                                                                   $8,180.16
Escrow Advances                                                            $5,185.19
Other Fees                                                                 $7,572.16
Late Charges                                                               $0.00
TOTAL AMOUNT DUE SECURED CREDITOR AS OF June 22,                           $152,954.11
2018


       11.    HSBC Bank USA, National Association as Trustee for Ellington Loan

Acquisition Trust 2007-1, Mortgage Pass-Through Certificates, Series 2007-1 believes and

therefore avers that Debtor has no equity in the Mortgaged Premises.

       12.    The premises at 7427 Belden Street, Philadelphia, PA 19111 is currently valued at

$173,788.00 as set forth on Debtor's Schedule A.

       13.    Pursuant to Debtor's Statement of Intent, Debtor is surrendering the property.

       14.    Per Debtor's Schedule C, Debtor has claimed an exemption in the amount of

$23,675.00 with regards to the Mortgaged Premises.

       15.    Pursuant to Debtor's schedule D, there are no liens encumbering the Mortgaged

Premises.




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        16.    Creditor filed a foreclosure action against the Debtor on February 03, 2017, which

was stayed by the filing of the instant case.

        17.    The automatic stay of Section 362 of the Bankruptcy Code should be terminated

with respect to the interest of HSBC Bank USA, National Association as Trustee for Ellington

Loan Acquisition Trust 2007-1, Mortgage Pass-Through Certificates, Series 2007-1 in the

Mortgaged Premises, pursuant to Section 362(d)(1), because HSBC Bank USA, National

Association as Trustee for Ellington Loan Acquisition Trust 2007-1, Mortgage Pass-Through

Certificates, Series 2007-1 lacks adequate protection of its security interest in the Mortgaged

Premises.

        18.    The Property is of inconsequential value and benefit to the estate because upon

liquidation of the Property, no proceeds would remain for the benefit of the estate.

        WHEREFORE, HSBC Bank USA, National Association as Trustee for Ellington Loan

Acquisition Trust 2007-1, Mortgage Pass-Through Certificates, Series 2007-1 respectfully

requests this Honorable Court to enter an order terminating the Automatic Stay as it affects the

interest of HSBC Bank USA, National Association as Trustee for Ellington Loan Acquisition

Trust 2007-1, Mortgage Pass-Through Certificates, Series 2007-1 in the Mortgaged Premises of

the Debtor specifically identified in the Mortgage, directing the Trustee to abandon the Property

pursuant to 11 U.S.C. §554(b) and granting such other relief as this Honorable Court may deem

just.

                                                     Respectfully submitted,
                                                        /s/ Karina Velter
                                                     Karina Velter, Esquire (94781)
                                                     Kimberly A. Bonner (89705)
                                                     Adam B. Hall (323867)
                                                     Sarah E. Barngrover (323972)
                                                     Manley Deas Kochalski LLC


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                                            P.O. Box 165028
                                            Columbus, OH 43216-5028
                                            Telephone: 614-220-5611
                                            Fax: 614-627-8181
                                            Attorneys for Creditor
                                            The case attorney for this file is Karina
                                            Velter.
                                            Contact email is kvelter@manleydeas.com




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                                Movant, : U.S. Bankruptcy Court
       vs                                : 900 Market Street, Courtroom #1
                                         : Philadelphia, PA, 19107
Lisa Young A Kim aka Young Ae            :
Kim, aka Lisa Young Kim


Lynn E. Feldman
                             Respondents.

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Motion for Relief from the

Automatic Stay and Abandonment of Property to permit HSBC Bank USA, National

Association as Trustee for Ellington Loan Acquisition Trust 2007-1, Mortgage Pass-Through

Certificates, Series 2007-1 to foreclose on 7427 Belden Street, Philadelphia, PA 19111 and

Abandonment of Property was served on the parties listed below via e-mail notification:

  United States Trustee, Office of the U.S. Trustee, 833 Chestnut Street, Suite 500,
  Philadelphia, PA 19107

  Lynn E. Feldman, Chapter 7 Trustee, 221 North Cedar Crest Boulevard, Allentown, PA
  18104




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   David M. Offen, Attorney for Lisa Young A Kim aka Young Ae Kim, aka Lisa Young Kim,
   The Curtis Center, 601 Walnut Street, Suite 160 West, Philadelphia, PA 19106,
   dmo160west@gmail.com

The below listed parties were served via regular U.S. Mail, postage prepaid, on July 3, 2018:

   Lisa Young A Kim aka Young Ae Kim, aka Lisa Young Kim, 7427 Belden Street,
   Philadelphia, PA 19111


DATE: 7/3/2018
                                                       /s/ Karina Velter
                                                    Karina Velter, Esquire (94781)
                                                    Kimberly A. Bonner (89705)
                                                    Adam B. Hall (323867)
                                                    Sarah E. Barngrover (323972)
                                                    Manley Deas Kochalski LLC
                                                    P.O. Box 165028
                                                    Columbus, OH 43216-5028
                                                    Telephone: 614-220-5611
                                                    Fax: 614-627-8181
                                                    Attorneys for Creditor
                                                    The case attorney for this file is Karina
                                                    Velter.
                                                    Contact email is kvelter@manleydeas.com




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